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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

                                 Case No. 4:20-cv-00069-LMM

PATRICIA KENNEDY, Individually

       Plaintiff
v.

SHRINATHJI-KRUPA, INC.
A Georgia corporation d/b/a
COUNTRY HEARTH INN & SUITES

      Defendant
____________________________________/

               PLAINTIFF’S MOTION FOR ENTRY OF JUDGMENT
           AFTER DEFAULT WITH MEMORANDUM OF LAW IN SUPPORT

       Plaintiff PATRICIA KENNEDY (“Plaintiff”), pursuant to the provisions of Rule 55(b)(2)

of the Federal Rules of Civil Procedure, moves this Court to enter Judgment after Default against

Defendant, SHRINATHJI-KRUPA, INC.

               PROCEDURAL HISTORY AND FACTUAL BACKGROUND

       This is an action for injunctive relief and attorneys’ fees and costs pursuant to 42 U.S.C.

§12181, et seq. (“Americans With Disabilities Act” or “ADA”).            The individual Plaintiff,

PATRICIA KENNEDY, qualifies as a disabled person within the meaning of the ADA. Plaintiff

is unable to engage in the major life activity of walking more than a few steps without assistive

devices. Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other support and

has limited use of her hands. She is unable to tightly grasp, twist the wrist, and pinch to operate.

When ambulating beyond the comfort of her own home, Plaintiff must primarily rely on a

wheelchair. Plaintiff requires accessible handicap parking spaces located closest to the entrances

of a facility. The handicap and access aisles must be of sufficient width so that she can embark
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and disembark from a ramp into her vehicle. Routes connecting the handicap spaces and all

features, goods and services of a facility must be level, properly sloped, sufficiently wide and

without cracks, holes, or other hazards that can pose a danger of tipping, catching wheels or falling.

These areas must be free of obstructions or unsecured carpeting that make passage either more

difficult or impossible. Amenities must be sufficiently lowered so that Plaintiff can reach them.

She has difficulty operating doorknobs, sink faucets, or other operating mechanisms that require

tight grasping, twisting of the wrist or pinching. She is hesitant to use sinks that have unwrapped

pies, as such pose a danger of scraping or burning her legs. Sinks must be at the proper height so

she can put her legs underneath to wash her hands. She requires grab bars both behind and beside

a commode so that she can safely transfer, and she has difficulty reaching the flush control if it is

on the wrong side. She has difficulty getting through doorways if they lack the proper clearance.

The subject property is a hotel.

       Pursuant to the Court’s Order (DE18) on Plaintiff’s unopposed Motion for Leave to File

Amended Complaint (DE15), Plaintiff was granted leave to file an amended complaint to more

properly describe Defendant’s failure to comply with the regulations sued upon. The Amended

Complaint (DE 19) was filed July 21, 2020. A Certificate of Service of the Amended Complaint

was filed on July 23, 2020 (DE 20). A Clerk’s Entry of Default was previously entered against

Defendant on April 27, 2020; the Defendant has failed to file an answer or otherwise respond.

                                   MEMORANDUM OF LAW

I.     PLAINTIFF IS ENTITLED TO FINAL DEFAULT JUDGMENT

       This Court has original jurisdiction over the action pursuant to 28 U.S.C. §1331 and §1343

for Plaintiff’s claims arising under 28 U.S.C. §12181, et seq., based on Defendants’ violations of

Title III of the Americans With Disabilities Act (see also, 28 U.S.C. §2201 and §2202).
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       Pursuant to the provisions of Rule 55 of the Federal Rules of Civil Procedure, when a party

against whom affirmative relief is sought has failed to plead or otherwise defend as provided by

the Rules of Civil Procedure, such as the Defendant in this cause, a default shall be entered against

that party. In this instance, Defendant was properly served with the Complaint and Amended

Complaint filed herein and failed to respond in any manner, even after the entry of the Clerk’s

Default. Therefore, a final default judgment should be entered by the Court against Defendant

based upon evidence provided by a supporting affidavit and/or a hearing if necessary.

       Defendant, as the owner and operator of a place of lodging known as Country Hearth Inn

& Suites, located at 25 Carson Loop, Cartersville, Georgia (“the Property” or “the Hotel”), is

required to comply with the ADA, as well as the standards applicable to places of public

accommodation, as set forth in the Code of Federal Regulations, incorporated by reference into

the ADA. These regulations impose requirements pertaining to places of public accommodation,

including places of lodging, to ensure that they are accessible to disabled individuals. More

specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following requirements:

       Reservations made by places of lodging. A public accommodation that owns, leases or

       leases to or operates a place of lodging shall, with respect to reservations made by any

       means, including by telephone, in-person, or through a third party –

               I.      Modify its policies, practices, or procedures to ensure that individuals with
                       disabilities can make reservations for accessible guest rooms during the
                       same hours and in the same manner as individuals who do not need
                       accessible rooms;
               II.     Identify and describe accessible features in the hotels and guest rooms
                       offered through its reservations service in enough detail to reasonably
                       permit individuals with disabilities to assess independently whether a given
                       hotel or guest room meets his or her accessibility needs;
               III.    Ensure that accessible guest rooms are held for use by individuals with
                       disabilities until all other guest rooms of that type have been rented and the
                       accessible room requested is the only remaining room of that type;
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               IV.     Reserve, upon request, accessible guest rooms or specific types of guest
                       rooms and ensure that the guest rooms requested are blocked and removed
                       from all reservations systems; and
               V.      Guarantee that the specific accessible guest room reserved through its
                       reservations service is held for the reserving customer, regardless of whether
                       a specific room is held in response to reservations made by others.

The Defendant, either by itself or through a third party, implemented, operates, controls and/or

maintains the following websites for the Property:

https://www.stayinns.com/country-hearth-inn/georgia/cartersville/country-hearth-inn-and-suites-
cartersville
https://www.booking.com/hotel/us/howard-johnson-cartersville.html
https://www.priceline.com/relax/at/54061/rooms/1
https://in.hotels.com/ho211663/ and
https://www.agoda.com/country-hearth-inn-suites-cartersville/hotel/cartersville-ga-us.html.

Plaintiff’s uncontested pleadings establish that Defendant has failed to provide the third party

providers listed above with the information required for their websites to identify or allow for

booking of accessible rooms or to post sufficient information regarding accessibility at the hotel

in violation of 28 C.F.R. 36.302(e)(1)(ii).

       Prior to the commencement of this lawsuit, the Plaintiff visited the websites for the purpose

of reviewing and assessing the accessible features at the Property and ascertain whether it meets

the requirements of 28.C.F.R. Section 36.302(e) and her accessibility needs. Plaintiff was unable

to do so because Defendant has failed to comply with said requirements, and as a result the

Plaintiff was deprived of the same goods, services, features, facilities, benefits, advantages, and

accommodations of the Property and websites available to the general public. Plaintiff intends to

revisit the Defendant’s websites in the near future to reserve a guest room and otherwise avail

herself of the goods, services, features, facilities, benefits advantages, and accommodations of the

Property, but she is continuously aware that the subject websites remain non-compliant and it

would be a futile gesture to revisit the websites as long as those violations exist, unless she is
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willing to suffer additional discrimination. Venue is proper in this jurisdiction because this is

where the injury occurred.

       Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

Justice, Office of the Attorney General, promulgated federal regulations to implement the

requirements of the ADA. 28 CFR Part 36. Defendant is in violation of 42 U.S.C. 12181 et seq.,

and 28 CFR 36.302 et seq., and is discriminating against Plaintiff. The discrimination is based on

the Defendant’s denying Plaintiff full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations as prohibited by 42 U.S.C. §12182 et seq., and by

depriving her of the information required to make meaningful choices for travel. By maintaining

the websites with violations, Defendant deprives Plaintiff the equality of opportunity offered to the

general public.

       Pursuant to 42 U.S.C. 12188(a)(2), this Court is provided authority to grant Plaintiff’s

injunctive relief, including an Order to alter the websites to make them readily accessible to and

useable by individuals with disabilities to the extent required by the ADA. Several courts have

granted motions for default judgment based on website discrimination involving hotel online

reservations systems. See, e.g., Kennedy v. Avadhoot, LLC, 1:19-cv-00211-WMR (N.D. Ga.

01/09/2020); Laufer v. Imperial Investments Doraville, Inc., 1:19-cv-05133-TCB (N.D. Ga.

02/10/2020); Laufer v. DPSG, LLC, 1:19-cv-05448-ELR (N.D. Ga. 02/19/2020); Kennedy v.

Londamerican Real Estate Ltd., 19-cv-61228-SMITH/VALLE, DE 18 (S.D. Fla. 8/21/2019);

Kennedy v. Guruhari Hospitality, LLC, 0:19-cv-61139-WPD, DE 18 (S.D. Fla. 7/11/2019);

Kennedy v. Moreno, 19-cv-60550-ALTMAN, DE 20, (S.D. Fla. 6/26/2019); Kennedy v. Pacifica

Tampa Ltd Partnership, 5:17-cv-442-JSM-PRL, DE 7 (M.D. Fla. 1/25/18). Kennedy v. Fernandez,

19-60876, DE 18 (S.D. Fla. 6/11/2019); Kennedy v. Astoria Hotel Suites, LLC, 19-cv-60160, DE

17 (S.D. Fla. 3/22/19); Kennedy v. Dockside View, LLC, 2:18-cv-14444-KAM (S.D. Fla.
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1/19/19); Kennedy v. Cape Siesta Motel, LLC, 18-81811, 0:18-cv-61811-MGC, DE 20 (S.D. Fla.

1/18/2019); Kennedy v. Shivnit, Inc., 0:18-cv-63094-UU, DE 12 (S.D. Fla. 1/30/19); Kennedy v.

Terrace Park Suites, LLC, 0:19-cv-60012-DPG (S.D. Fla. 3/21/19); Kennedy v. Shree Ram

Jalaram, Inc., 19-60708, DE 13 (S.D. Fla. 4/18/2019); and Kennedy v. Rushi Hospitality LLC, 18-

cv-62259-WPD, DE 26 (S.D. Fla. 2/6/19). These include the entry of judgment mandating that the

Defendants bring their websites into full compliance with the ADA. Further, the Courts stated that

Plaintiff is entitled to their attorney fees, costs, litigation expenses and expert fees incurred.

                                           CONCLUSION

        WHEREFORE, Plaintiff respectfully moves this Court to:

        a.       Enter Judgment After Default against the Defendant, that determines that the

Defendant at the commencement of the subject lawsuit was in violation of Title III of the

Americans With Disabilities Act, 42 U.S.C. §12181 et seq. and 28 C.F.R. Section 36.302(3);

        b.       Granting injunctive relief against Defendant including an order to revise its

websites to comply with 28 C.F.R. Section 36.302(3) and to implement a policy to monitor and

maintain the website to ensure that it remains in compliance with said requirement.

        c.       Grant an award of attorney’s fees, costs, and litigation expenses pursuant to 42

U.S.C. §12205.

        d.       Grant such other relief as the Court deems just and proper, and/or is allowable under

Title III of the Americans With Disabilities Act.

        Dated this 23rd day of November, 2020.
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                                               Respectfully Submitted,

                                               Attorneys for Plaintiff

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                CERTIFICATE OF ELECTRONIC FILING AND SERVICE

       I hereby certify that the foregoing document is being served this 23rd day of November,

2020, on counsel of record or pro se parties identified on the attached Service List in the manner

specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Electronic Filing.

                                         SERVICE LIST


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                                                    /s/ Kathy L. Houston     _______          .
                                               Kathy L. Houston, Esq.
